     Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 1 of 10 PageID #:1


                                                                                RECEIVED
                                                                                    AUG3i?0r5Era6
                                                                                      8-a-rs
                                                                                 THOMAS G. BRUTON
                                    U.\ITED ST.{TES DISTRICT COURT            GLERK, U.S, DISTRICT COURT
                                    NoRTHERN DrsrRrcT or nrixon
                                           EASTERN DIVISION




   lEnter above the t'ull name
   trt'the plaintitf or plaintiffls
                                    in
   this action)                                          15cv77o2


                                                    Ca
                                                         #!',"',:l""liii;f;   i"?Hi.Mason
                                                    (T




   St^** /?orr
                  t'l's,,/ /'"


 defendants in this action.
                            Do not
 use ''et al.")

CHECK ONE ONLY:

                   COIIPLAINT UNDERTHE CIVTL
                                                         RIGHTS ACT,TITLE {2
                   U.S. Code (state, county, or                              SECTION I98J
                                                municipat j.tnauntr)

                   CO}TPLAINT UNDER THE
                                            CONSTITUTTON
                   28sEcrIoN trrt u.s. cocte (a;;;i;;rdants)(" BIVENS" ACTION), TITLE
                   OTHER (cite statute, if known)


',f[*tr"'l!;:i:,f {{,;{;],$!liw;x:fi:,',tf
                                           ff:ro"rNSrRUcrroNSFoR
      Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 2 of 10 PageID #:2




        Plaintiff(s):

        .-\.    Name:      (L'1*           t/"''
        B.      List atl aliases:

        C.      Prisoner identitication   number: R      SSfSZ
        D.      Place    of present confinement:

        E.


        (lflthere is more than one plaintitf, then each plaintitf must list his or her name. aliases, I.D.
        number. place of continement, and current address according to the above tormat on a
        separate sheet   of paper.)

tI.     Defendant(s):
        (ln A below, place the full name of the first det'endant in the tirst blank, his or her otficial
        position in the second blank. and his or her place of employment in the third blank. Space
        tbr two additional def'endants is provided in B and C.)

        r\.     Defendant:

                Title:

                praceorEmproymen          ., 76oa     5, tl,irlJs{ Ch,*rru /orro
        B.      Det'endant:

                Title:

                Place    of Employment:

        C.      Defendant:

                Title:

                Place    of Employment:

       (lfyou have more than three deflendants, then all additional det'endants must be listed
       according to the above tbrmat on a separate sheet of paper.)




                                                                                              Reviserl 9/2007
     Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 3 of 10 PageID #:3




  III'        List ALL hrvsuits you (und your co-plaintiffs,
                                                             if any) have lited in uny state or lederal
              court in the Lrnited States:

              .-\.     \arne ot'case and docker      number: 14 C        dsqf

              B.      ,{pproxirnate date of t'iling   larvsuir:   ll -   7-   lr{
              C.                                 had co-plaintitfs), including any aliases:




              D.




                      Court in rvhich the larvsuit
                      name the county):

          F.         Name ofjudge to whom case was assigned:


         G.




         H.
                                                                  Was the,case dismissed? Was   it appealed?
                                                                                    -t


         I.          Approximate date of dispositio
                                                       ^, 4 - ZZ - I A
TF YOU HA\TE FILED MORE
                          THAN ONE LAWSUIT, THEN YOU
ADDITIONAL LA,VSUITS ON EXOIUTN                          }IUST DESCRIBE TIIE
FORIVIAT' REcARDLEss oF Holv
                                         PIECd Of  PErgR,   USING THIS SA'VTE
                                ivIA,Nv casgs vou HAvE inrvrouily
You lwLL Nor BE ExcusED FRolt FILLINc                                 FILED,
AND FAILURE TO DO SO JVIAY RESULT           ourinrs  sEcrioN   tor-vmerEly,
PLAINTIFFS
                                         rX OTS.VTTISAL OF YOUR CASE. CO.
                   ALSO LIST ALi CASES THEY TL{VE
            '}IUST                                   FILED.




                                                                                                Revised 9/2007
  Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 4 of 10 PageID #:4




Iv.   St:ltement of       Clrim:

      State here as brietly as possible the lacts of ,r-our case. Describe horv each deflendanr is
      involved. includine names. dates. cnd places. Do not give any regal arguments or cite any
      ctses or stttutes. lf you intend to allege a number of related claims, number and set tbrth
      each claim in a separate paragraph. lUse as much space as you need. Anach extra sheets
      i   I necessary.)




                                                                                      Revrsed 9/2007




                                                                                                       )
            Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 5 of 10 PageID #:5




                                                                                 J-k


         lfosrl




                                      flo,r/   ,6*

        b,, j    Jhw    bo"b                t%"ln* f -e-( -/S
AIIE   qqy-ql




                OFFICIAL SEAL
            KIMBENLY A. ULRICI.i
         Notary Pubtic. State of iltinois
       My Conimission Expircs Altgl}Olg
 Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 6 of 10 PageID #:6




v,    Reliel':

      state briet)y exactly rvhar y'ou want the court ro do   tbryou. ltake no legal arsuments. Cite
      no cases or statutes.




vl.   The plaintitf tlemands that the case be rried bv   a   jury. Mres           trNo
                                                         CERTIFICATION

                             By signing this complaint, t certifi that the ficts stated in
                                                                                               this
                             cornplaint are true to the best of my knowtedge, infonnation
                                                                                               and
                             belief. I understand that if this certitication is nit corr..t,
                                                                                             r  may be
                            subject to sanctions by the Court.

                            Signed   this    rtT      day    of 2(e ,?AE_


                            (Signature of plaintiff or ptaintit'fs)


                            (Print name)


                            ,,     n   55rn
                            (l.D. ,Number)

                                     '^1110
                                                b,nrtxeo Lb
                                                       tt      La/ao




                                                                                       Rcvrscr,l ,)/lCt)7
 Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 7 of 10 PageID #:7




                                                   C*/1p/ 14ck-H*s

    W"        my/u^/uc;si CA^rk             tlt-   tm cwvutvl/y r**.r".orb(
    hrr-r,rr. urn-l,ar*/ fu"r*- iv Z6oe.
^{
T ,u orrrof Jrly 2/1 2aH by lL ya/,ec.oSt,.s f-* Trot
S' t/^/s+*( S/ * Clz,ryo Zt 6rt&20.0,, Jrly 2/, zail /lc7o/'t*
o$hr*.i,\ /^t"l *" /n,ee o/vcc r* lk ,slorq*rl, alca r-/ /-/r*
nfrr. l* ry clo\ur*.g- r4* ngA/ "* ;u0 zl a*o,,'/ /;Jopt<
rtoar/ my g,r/h-r/ /r.lr.r, &,rcr* l,*Un,Su.****o/ /4'
(/r,ryo pol;r. nrs" &JL/ A *, opo],*""/^/,rA rs Ttot 5 ,'.yt^/
s* Cl,ryo,ZL 64tt *fia" WWra-gAh-l*/brUol,SA
€rirq. i^rcL. llrc p"l,c* o#rtns C,;rtc '1. /rL 6aI a[u] &s h go
/t*r*l ct$c*s, T b..* /.,;i,g so * r/,'Jr* tate /" J"/.
#*, /" htJrc             /-,ze   ave(   z   o*,1 4r.,51 /5s   7*o*&-'TAo
lLu,s'u,t   im urr/t,6   ;r lw*rr*      //r. polt., o#acr's   t';fJr/
                                                                        ^y
 &*r*t /*va/ rghL lV ,'+ hla,s ,* 1A #* k*",/./ U, nu'Lt
I pos k""(, Th p)." oh.us *s""{,r,to'lL#.o,o{-1u.
durol f V,ss<'/ o*d olr* -T ,ttxs an *b;5 bl r%. /nl,"f u#ru
 k n d &y ,1,'"A /des J"/f eelzoi{ o/ 7,nnrul" #'oo#,L"'
 N4{ r[U hs &r,r* rt r.*lr.kJ^y erl/.d*-"*/*//*$
s. A lr;#-l *Ll, ul,ou ne;o*k io "E { lb H* *k
"**
           lL Nrr"'t J>,/,,t4 5r5.. ton'# * /u.r{ng/t Ll,lr/
 /rtn ^lry
      E' ,[^,/ k*r, b**. z ,a,*"s d+r);* *rr( l/*+ *y cW h*/t
 k*t*/r".rAy ^y ck*/ h"/t ^*drl,//1,^ 1/,.prl'oofi,o,
*,tr/**/,,s{o6,*l Tt" /""1uf #tr s/o}*/ rc^^/,'g#,*'gh
rnY Pttre rupn/r od h// n- ,l oy r"rlL'y; 'l"r*"rc
     Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 8 of 10 PageID #:8




br,"5 /o""( /r*/ogAl,so                k k/ r,* /o sku Lr^ r/r.,-r
bor* fu"sr"/ "-ot z -/i"{, fl,              tA**$#,          -lrl/   r*4    so 5J,-,/or-
by  /lr. pJ/u,rrt s,.t'o(y,u lun/-Su$ /h- Ltp,r4./ l.r*or. no#,x
 iS gotgJ- /opp", /, y* a/u my t u/.A. TL,#r".)*l4h.

 fr** "#"/lr" ,/oL "-"( &4/*l"r*r,.rb* *hu mi,r*rrk/"** a
prl, cc   l"rlr-*rL                  *[rrl * /ln s*,r- %rry
                        ga*tc b*,k /'lr"r- o^,r(
                                          )

 l/,. /*1. ,s "#r,,. orl* $ sL* h^ /ul*- zlk p./,r" /ot*./
pac a*o( E tr(, 7n /,rt /=^rr* l"l/
                                    ^. *S'
                                            ,]r* /k lrl"{,,5
&t/ $..^toc r h""/+"5J /n l"r(tyo/rA.,, a*o( /4.//*,{rnt
gnh""( */r. pk m&aae"'l/ arrd ahu{ ?orn rr,-zQs A* e
                    "
olAn p"l,L.       o$F,uts   ,ft-,*   ,n7   o loilly   ,,d,So,v   ana /*,L   *A,   /r#/"
       rua,y,IWk-,, l-../J r- Jfa il, ,srhs*
Cwtp,^ruy    o$
fngn, P"*r zL kotros ,h* z li€s /.*/rP$. ^t
in)u.,|.s,
   Srr*" Z b.r,v 1761,r'ro-o*.( I b*rv furf /r"o1, my ru*fi*/
fcco,/s iro* l,///" cornvanaT r[ mory /rrr7r/"/ ly ,*,/,,6 A l"*
 lo rulru* #o rn,$" h *., ttt to"l/as yr.rl,g ilc Ckr..go p.l,rc-
/rr^rlqtLrs w                      h- ry f"l,* orro*
                        3s lo s, ft{,'uA,;a,v $yc-
Sk,+ re-V.rvl nur%'u, .f+ k*( h,ry 1, t* #r. /,rr**y',
Zuc.rl    /o   yt^"     ]A;s   /*trlog"t/LClrrgp
                                               ioo/,r.4***,**
hr rrc/tg ny C.ruir'Llwn/ rgA* ^,ucl as.1n oLsos,'r- hrr. ,r,
,ttc-, Tt
          ^rt yuu      I    rcolQ ru,rJ      {oxr AJf :
 Kr?*^. a Cl,ogu pofi". l**h*yl*e ,k Ly l^* rL +Lil*
i**/oo.6r,rs*:, /J #* A"rr/,/ *.+ lir,- ,,-4 t /. fr-
pic- s#,,-. 6V ko$y'rec,tr rtr,rg *. ud z prss&o*
                                                                                     "W
,l r J"/''l ,*k ,a /" /.tt ry A-r,k#""tt ,,"*"1,.{ h* rnJ-
atw up *" * 1,     '-rtu             m.i *l"t<, ^.i11"'l*'rlo / !
                         ",n+**an|r(
 Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 9 of 10 PageID #:9




    /"1/, myNatncis Cla,lr;,4//r,, myss*rs 35o -7a*57il
my bob t', : /-//-lfZz, f^ i,uure"-aL/# /apr.rycu Cor-rt z1o*/
M. i,v Eksc.
    5,^ orl*g, ,4* t/A- /" /,///" cbmfary of aruoy lg",A/
prteo/ twr,*A ,f*,". y'o rJ*t" nt/ fldtc*l*ucr&o*
#"Ayt* nty 3a7aa'/ #-*ykdr;"!*-i,r.L c/.,k
,//* *k,'ry lh/ fukrJ*/ru-"& rts,o r./*ro r41uo
&r,,*rn * A *f            o, *, or(orn y ,nt o/,5o/',r" so
                 ^r{o--.y
I Ur,, N6uo rry L5J bntiacds, Yh^rl. t"* !


                                    (*/      rrr( f,-sr-/;

             and




        $/BEfli,ttffi;
    W$88,,
              Case: 1:15-cv-07702 Document #: 1 Filed: 08/31/15 Page 10 of 10 PageID #:10


                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE                                                    ISTRICT OF IILINOIS


  e 4^,/,     t    ,4//,u'                                                )
                                                                          )
         -t                                                               )              15cv7702
                                                                          )              Judge Charles p. Kocoras
 \t c                                                                     )              Magistrate Judge Michael T.
                                                                          )                                          Mason
                                                                                         PC6
                                                                      )
                                                                      )
 k*:l*o           fr*/''     3fi.#11at{ , ,,, ,,.,,,                  )
                                                                      )
                                                                                    .;
                                                           'l:,      i:
                                             '             jijr'i     r                      :
                                                                                                 '.
                                                                                                 r:
                                             l,-,1,:                      'r
                                                 r'
                                          CERTIFICATE OF SERVICE

                                                                               , eertify that I                   sent through the United    States

Postal. Service a copy of the attached
 Lf,7
        Serl,:r, ''a3 l' t (oe.lc                      ,       ,..    , -.                        .,.                        .




by placing' same in'iu., envelope addressed to the                                                    Pfr.   5;                     attorney:




said envelope was placed in the mailbox at the                                               la*rcrrta
CorrectionaL Cente t on *e rtuS day of       ?(,                                                                         , *_2p_1.5__*ith   postage

fully prepaid.
                                                                              S/S


DArE     .        /,5   4lt    l"   iS

                                                                     and Sworn to Before me this




                                                                    OFFICIAL SEAL
                                                KIMBEBLY A, ULRICH
                                             Notary Public - State of lllinois
                                           My Commission Expires gllglZOlB
